      Case: 1:24-cv-00344-DAR Doc #: 29 Filed: 06/19/24 1 of 7. PageID #: 307




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OHIO
                                   EASTERN DIVISION

Nancy Smith,                                 :
                                             :       Case No. 1:24-cv-00344 DAR/JDA
        Plaintiff                            :
                                             :       Judge David A. Ruiz
 v.                                          :       Magistrate Jennifer Dowdell Armstrong
                                             :
City of Lorain, et al.                       :
                                             :
        Defendants.

                    MOTION OF COUNTY RISK SHARING AUTHORITY
                            FOR LEAVE TO INTERVENE

        Now comes County Risk Sharing Authority (“CORSA”) and, pursuant to F. R. Civ. P. 24,

and moves the Court for leave to intervene in order to seek judgment declaring that CORSA has

no duty to defend certain defendants in this action. A proposed order granting this motion and

proposed intervention complaint are attached.

                                             Respectfully submitted,


                                             /s/ Scyld D. Anderson
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                               MEMORANDUM IN SUPPORT

        CORSA is an Ohio not-for-profit corporation. It is also an Ohio statutory political

subdivision joint self-insurance pool within the meaning of Ohio R.C. §2744.081. It provides
      Case: 1:24-cv-00344-DAR Doc #: 29 Filed: 06/19/24 2 of 7. PageID #: 308




certain benefits to its Members, subject to the terms and conditions of its Coverage Agreement.

These benefits include defending and indemnifying the affected Member and/or Covered Parties

in certain legal actions brought against them.

       In this action, CORSA is providing a defending Defendants Jonathan Rosenbaum and

Lorain County, Ohio (the “County”). The defense is being provided out of an abundance of

caution, subject to reservation of rights. CORSA contends that it has no duty to defend either

Mr. Rosenbaum or the County, because the activities that form the basis of the Plaintiff’s claims

occurred in 1993 and 1994, but CORSA’s coverage only applies to activities occurring on or after

May 1, 1996.

       F. R. Civ. P. 24, provides, in pertinent part, as follows:

       (a) Intervention of Right. On timely motion, the court must permit anyone
       to intervene who:
           ***
           (2) claims an interest relating to the property or transaction that is the
           subject of the action, and is so situated that disposing of the action may as
           a practical matter impair or impede the movant’s ability to protect its
           interest, unless existing parties adequately represent that interest.
       (b) Permissive Intervention.
           (1) In General. On timely motion, the court may permit anyone to
           intervene who:
                 ***
                 (B) has a claim or defense that shares with the main action a common
                 question of law or fact.
           ***
           (3) Delay or Prejudice. In exercising its discretion, the court must
           consider whether the intervention will unduly delay or prejudice the
           adjudication of the original parties’ rights.
       (c) Notice and Pleading Required. A motion to intervene must be served on
       the parties as provided in Rule 5. The motion must state the grounds for
       intervention and be accompanied by a pleading that sets out the claim or
       defense for which intervention is sought.




                                                  2
      Case: 1:24-cv-00344-DAR Doc #: 29 Filed: 06/19/24 3 of 7. PageID #: 309




CORSA contends that is entitled to intervention as a matter of right under F. R. Civ. P. 24(a),

and that, if the Court disagrees, then the Court should nevertheless permit intervention under

F.R. Civ. P. 24(b).

       Although Ohio statutory political subdivision self-insurance pools are not insurers subject

to Title 39 of the Ohio Revised Code, they are treated similarly to insurers for procedural

purposes and purposes of contractual interpretation. See generally, Ohio Gov’t Risk Mgmt. Plan

v. County Risk Sharing Authority, 130 Ohio App.3d 174, 719 N.E.2d 992 (1998). Therefore, the

Court should look to cases involving insurers for guidance concerning intervention. One fairly

recent case is Konica Minolta Business Solutions U.S.A., Inc v. Lowery Corp. (Apr. 23, 2018),

E.D. Michigan Case No. 15-11254, 2018 U.S. Dist. LEXIS 81618. In Konica, the court offered

an extensive discussion of the law surrounding intervention by insurers.

       Regardless of whether intervention is of right or permissive, the motion to intervene must

be timely. In order to assess timeliness, several factors must be considered, namely, (1) the point

to which the suit has progressed; (2) the purpose for which intervention is sought; (3) the length

of time preceding the application during which the proposed intervenors knew or should have

known of their interest in the case; (4) the prejudice to the original parties due to the proposed

intervenors’ failure to promptly intervene after they knew or reasonably should have known of

their interest in the case; and (5) the existence of unusual circumstances militating against or in

favor of intervention. Konica at *5, citing Stupak-Thrall v. Glickman, 226 F.3d 467, 472 (6th

Cir. 2000). As of this writing, there are two pending motions to dismiss, one of which is not

expected to be fully briefed until sometime next month. No Rule 26(f) report has been

submitted. No case management conference has been set. It is apparent that there is no

prejudice to any of the parties. Therefore, this motion to intervene is timely.




                                                  3
      Case: 1:24-cv-00344-DAR Doc #: 29 Filed: 06/19/24 4 of 7. PageID #: 310




        In order to establish a right to intervene under F. R. Civ. P. 24(A), the movant must show:

(1) that the motion to intervene was timely; (2) that the intervenor has a substantial legal interest

in the subject matter of the case; (3) that its ability to protect that interest may be impaired in the

absence of intervention; and (4) that the parties already before the court may not adequately

represent its interest. Konica at *5, citing Northland Family Planning Clinic, Inc. v. Cox, 487

F.3d 323, 343 (6th Cir. 2007).

        In the absence of intervention, CORSA’s interest will be impaired because it will continue

to incur costs of defense. The parties already before the court do not adequately represent

CORSA’s interest because both the Plaintiff and Defendants would benefit from CORSA money

being available, and they have no incentive to develop an evidentiary basis to support CORSA’s

legal arguments concerning there being no coverage.

        CORSA also has a substantial interest in the litigation. “There can be no dispute that an

insurer has a direct interest in a lawsuit brought by an injured party against its insured when the

insurer admits that the claim is covered by the policy in question. When the insurer offers to

defend the insured but reserves the right to deny coverage, however, the insurer’s interest in the

liability phase of the proceeding is contingent on the resolution of the coverage issue.” Konica at

*10, citing Travelers Indemnity Co. v. Dingwell, 884 F.2d 629, 638 (1st Cir. 1989). Here,

CORSA has denied coverage, but is nevertheless defending under reservation of rights. If

CORSA is correct, then CORSA’s interest is not dependent on the outcome of the liability phase

of this action, and intervention of right is proper. If CORSA is not correct, then it has protected

its Member and can determine facts salient to coverage by way of jury instructions, jury

interrogatories, and verdict forms.




                                                   4
      Case: 1:24-cv-00344-DAR Doc #: 29 Filed: 06/19/24 5 of 7. PageID #: 311




         Even if intervention of right is not available, then the Court should allow permissive

intervention for the limited purpose of submitting jury instructions, jury interrogatories, and

verdict forms. Intervention for this purpose has been approved by a number of courts. Konica

at *12-*13, citing Plough, Inc. v. Int’l Flavors & Fragrances, Inc., 96 F.R.D. 136, 137 (W.D.

Tenn. 1982) and Thomas v. Henderson, 297 F. Supp. 2d 1311, 1327 (S.D. Ala. 2003).

Obviously, CORSA’s claim that there is no coverage involves a question of fact in common with

the Plaintiff’s claims and the Defendants’ defenses, namely, when did the offending activities

occur.

         Whether a district court takes jurisdiction of an action for declaratory judgment is

discretionary. 28 U.S.C. §2201. That said, declaratory judgment is an appropriate vehicle by

which to resolve questions of coverage where, as here, there is an actual controversy between the

affected parties, and the parties need and want to know their rights. See generally, Western

World Ins. Co. v. Hoey, 773 F.3d 755 (6th Cir. 2014).

         In summary, CORSA is entitled to intervention of right in order to petition the Court for

declaratory judgment confirming CORSA’s position that it has no duty to defend Mr. Rosenbaum

or the County. If the Court finds that intervention of right is not available, or if the Court at some

point declines to grant the declaratory relief requested by CORSA, then CORSA’s intervention

should be allowed to continue as permissive in order for CORSA to submit jury instructions, jury

interrogatories, and verdict forms. Again, a proposed intervention complaint and proposed order

are attached hereto.




                                                  5
     Case: 1:24-cv-00344-DAR Doc #: 29 Filed: 06/19/24 6 of 7. PageID #: 312




                                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that, on June 19, 2024, the foregoing document was filed using the Court’s

NextGen CM/ECF system and served as required by F. R. Civ. P. 5. Counsel of record and

unrepresented parties include:

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                                             6
    Case: 1:24-cv-00344-DAR Doc #: 29 Filed: 06/19/24 7 of 7. PageID #: 313




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                                            7
